          Case 1:12-cv-11073-DJC Document 65 Filed 11/26/13 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


MARK DUTKEWYCH,

       Plaintiff

       V.

STANDARD INSURANCE COMPANY AND                            CIVIL ACTION NO. 1:12-11073-DJC
MINTZ LEVIN COHN FERRIS GLOVSKY
& POPEO P.C. GROUP LONG TERM
DISABILITY PLAN,

       Defendants



                     JOINT MOTION TO EXTEND THE DATE FOR
            ORAL ARGUMENT ON THE PARTIES SUMMARY JUDGMENT BRIEFS

       The parties to the above-referenced matter respectfully request that this Court enlarge the

timeframe for oral argument on the parties’ summary judgment briefs from December 4, 2013 to

December 12, 2013 at 2:30pm.

       In support of this Motion, the parties state that Plaintiff’s counsel requests additional time

to allow for her absence from work as a result of her recovery from her October 28, 2013

surgery. A brief extension of eight days will not prejudice either party.

       Accordingly, the parties respectfully request that the Court enlarge the timeframe for oral

argument from December 4, 2013 to December 12, 2013 at 2:30pm.




                                                 1
          Case 1:12-cv-11073-DJC Document 65 Filed 11/26/13 Page 2 of 2




Respectfully submitted,


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Attorney for Plaintiff                       Attorney for Defendant

Dated: November 26, 2013


                               CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 2013 I electronically filed the above-referenced
document using the CM/ECF system which will send notification of such filing(s) to the
following:

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